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                                  Slip Op. 23-54

         UNITED STATES COURT OF INTERNATIONAL TRADE


NUCOR CORPORATION,

       Plaintiff,

and

STEEL DYNAMICS, INC.,

       Plaintiff-Intervenor,
                                            Before: Jennifer Choe-Groves, Judge
v.
                                            Court No. 22-00050
UNITED STATES,

       Defendant,

and

HYUNDAI STEEL COMPANY and
GOVERNMENT OF THE
REPUBLIC OF KOREA,

       Defendant-Intervenors.

                            OPINION AND ORDER

[Sustaining the final results of the administrative review by the U.S. Department of
Commerce in the countervailing duty investigation of certain corrosion-resistant
steel products from the Republic of Korea.]

                                                              Dated: April 19, 2023
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Adam M. Teslik, Wiley Rein, LLP, of Washington, D.C., argued for Plaintiff
Nucor Corporation. With him on the brief were Alan H. Price, Christopher B.
Weld, and Tessa V. Capeloto.

Roger B. Schagrin, Christopher T. Cloutier, Elizabeth J. Drake, Luke A. Meisner,
Jeffrey D. Gerrish, William A. Fennell, Nicholas J. Birch, Benjamin J. Bay, Kelsey
M. Rule, Michelle R. Avrutin, and Saad Y. Chalchal, Schagrin Associates, of
Washington, D.C., for Plaintiff-Intervenor Steel Dynamics, Inc.

Kelly A. Krystyniak, Trial Attorney, Commercial Litigation Branch, Civil
Division, U.S. Department of Justice, of Washington, D.C., argued for Defendant
United States. With her on the brief were Brian M. Boynton, Principal Deputy
Assistant Attorney General, Patricia M. McCarthy, Director, Claude Burke,
Assistant Director, and Elizabeth Speck, Senior Trial Counsel, of Washington,
D.C. Of Counsel on the brief was Ayat Mujais, Attorney, Office of the Chief
Counsel for Trade Enforcement & Compliance, U.S. Department of Commerce,
Washington, D.C.

Brady W. Mills, Donald B. Cameron, Julie C. Mendoza, R. Will Planert, Mary S.
Hodgins, Eugene Degnan, Edward J. Thomas, III, Jordan L. Fleischer, and
Nicholas C. Duffey, Morris, Manning & Martin, LLP, of Washington, D.C., for
Defendant-Intervenor Hyundai Steel Company.

Daniel M. Witkowski, Akin Gump Strauss Hauer & Feld LLP, of Washington,
D.C., argued for Defendant-Intervenor Government of the Republic of Korea.
With him on the brief were Yujin K. McNamara, Sarah S. Sprinkle, Devin S.
Sikes, Sydney L. Stringer, and Sung Un K. Kim.

      Choe-Groves, Judge: Plaintiff Nucor Corporation (“Nucor”) challenges the

U.S. Department of Commerce’s (“Commerce”) Certain Corrosion-Resistant Steel

Products From the Republic of Korea (“Korea”): Final Results and Partial

Recission of Countervailing Duty Administrative Review; 2019. Compl., ECF No.

10; Certain Corrosion-Resistant Steel Products From the Republic of Korea (“Final

Results”), 87 Fed. Reg. 2759 (Dep’t of Commerce Jan. 19, 2022) (final results and
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partial recission of countervailing duty administrative review; 2019); see also

Issues and Decision Memorandum for the Final Results and Partial Recission of

the 2019 Administrative Review of the Countervailing Duty Order on Certain

Corrosion-Resistant Steel Products from the Republic of Korea (“Final IDM”), PR

213.1

        Nucor challenges Commerce’s determination that the Government of

Korea’s provision of electricity for less than adequate remuneration did not confer

a benefit. Pl.’s R. 56.2 Mot. J. Agency R. and Mem. Supp. (“Pl.’s Br.”), ECF Nos.

34, 35; Pl.’s Reply Br. Supp. R. 56.2 Mot. J. Agency R. (“Pl.’s Reply Br.”), ECF

Nos. 45, 46. Defendant United States (“Defendant”), Defendant-Intervenor

Hyundai Steel Company (“Hyundai Steel”), and the Government of the Republic

of Korea (“Government of Korea”) argue that the Court should sustain the Final

Results. Def.’s Resp. Br. Opp’n Pl.’s R. 56.2 Mot. J. Agency R. (“Def.’s Resp.

Br.”), ECF No. 38; Def.-Interv.’s Resp. Br. Opp’n Pl.’s R. 56.2 Mot. J. Agency R.,

ECF Nos. 36, 37; Def.-Interv.’s Corrected Mem. Opp’n Pl.’s R. 56.2 Mot. J.

Agency R., ECF No. 42-2, 43-2. For the reasons discussed below, the Court

sustains Commerce’s Final Results.




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  Citations to the administrative record reflect the public administrative record
(“PR”) document numbers. ECF No. 48.
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                                 BACKGROUND

      Commerce published its countervailing duty order in the Federal Register.

Certain Corrosion-Resistant Steel Products from India, Italy, Republic of Korea

and the People’s Republic of China, 81 Fed. Reg. 48,387 (Dep’t of Commerce July

25, 2016) (countervailing duty order). Commerce initiated an administrative

review of the countervailing duty order on certain corrosion-resistant steel products

from Korea for the period of review of January 1, 2019, to December 31, 2019.

Initiation of Antidumping and Countervailing Duty Administrative Reviews, 85

Fed. Reg. 54,983, 54,990–91 (Dep’t of Commerce Sept. 3, 2020). Petitioners U.S.

Steel Corporation (“U.S. Steel”) and Nucor filed new subsidy allegations. Letter

from Cassidy Levy Kent (USA) LLP and Wiley Rein LLP to Sec’y Commerce, re:

Certain Corrosion-Resistant Steel Products from the Republic of Korea:

Petitioners’ New Subsidy Allegation (Jan. 4, 2021), PR 96. Nucor and U.S. Steel

alleged that the Government of Korea provided countervailable subsidies to the

steel industry in the form of electricity for less than adequate remuneration. See id.

Commerce initiated a review of the alleged subsidy. Memorandum from Dennis

McClure to Irene Darzenta Tzafolias, re: Countervailing Duty Administrative

Review of Certain Corrosion-Resistant Steel Products from the Republic of Korea:

New Subsidy Allegation (Feb. 1, 2021), PR 109. Commerce issued supplemental

questionnaires regarding the subsidy allegation to the Government of Korea and to
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mandatory respondents Hyundai Steel and KG Dongbu Steel Co., Ltd. (“KG

Dongbu”) (collectively, “mandatory respondents”), each of whom provided

responses. Letter from Yoon & Yang LLC to Sec’y Commerce, re: Certain

Corrosion-Resistant Steel Products from the Republic of Korea, Case No. C-580-

879: Government of Korea’s New Subsidy Allegations Questionnaire Response

(Feb. 24, 2021) (“Government of Korea’s NSAQR”), PR 130; Letter from Morris,

Manning & Martin, LLP to Sec’y Commerce, re: Certain Corrosion-Resistant Steel

Products from the Republic of Korea, Case No. C-580-879: Hyundai Steel’s New

Subsidy Allegations Questionnaire Response (Feb. 24, 2021) (“Hyundai Steel’s

NSAQR”), PR 129; Letter from Morris, Manning & Martin, LLP to Sec’y

Commerce, re: Certain Corrosion-Resistant Steel Products from the Republic of

Korea, Case No. C-580-879: Dongbu’s New Subsidy Allegations Questionnaire

Response (Feb. 10, 2021) (“KG Dongbu’s NSAQR”), PR 123.

      Commerce issued the Preliminary Results and the Final Results of the

administrative review. Certain Corrosion-Resistant Steel Products from the

Republic of Korea (“Preliminary Results”), 86 Fed. Reg. 37,740 (Dep’t of

Commerce July 16, 2021) (preliminary results of countervailing duty

administrative review, 2019); Preliminary Decision Memorandum accompanying

Certain Corrosion-Resistant Steel Products From the Republic of Korea 86 Fed.

Reg. 37,740 (Dep’t Commerce July 16, 2021 (prelim. results of countervailing
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duty admin. rev., 2019) (“Prelim. DM”), PR 173; Final Results, 87 Fed. Reg. 2759;

Final IDM. In the Final IDM, Commerce explained that it applied a “Tier 3

analysis” pursuant to 19 C.F.R. § 351.511(a)(2)(iii) to assess whether the

electricity prices charged by the Korea Electric Power Corporation (“KEPCO”)

were consistent with market principles by evaluating whether the electricity prices

allowed for the recovery of costs plus a rate of recovery or profit. Final IDM at 15.

Using this methodology, Commerce determined that some electricity prices were

in line with market principles and some were not, with the difference between the

price paid and the benchmark being the benefit conferred. Id. Commerce

determined that no measurable benefit was conferred in this administrative review.

Id.

      Commerce calculated final subsidy rates of 0.47% or de minimis for

Hyundai Steel and 10.51% for KG Dongbu. Final Results, 87 Fed. Reg. at 2760.

               JURISDICTION AND STANDARD OF REVIEW

      The U.S. Court of International Trade has jurisdiction pursuant to 19 U.S.C.

§ 1516a(a)(2)(B)(iii) and 28 U.S.C. § 1581(c), which grant the Court authority to

review actions contesting the final results of an administrative review of a

countervailing duty order. The Court shall hold unlawful any determination found

to be unsupported by substantial evidence on the record or otherwise not in

accordance with the law. 19 U.S.C. § 1516a(b)(1)(B)(i).
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                                    DISCUSSION

      I.     Countervailable Subsidy Overview

      A countervailable subsidy exists when a foreign government provides a

financial contribution to a specific industry that confers a benefit upon a recipient

within the industry. 19 U.S.C. § 1677(5); see also Fine Furniture (Shanghai) Ltd.

v. United States, 748 F.3d 1365, 1369 (Fed. Cir. 2014). A countervailable benefit

shall normally be treated as conferred if goods or services are provided for less

than adequate remuneration. 19 U.S.C. § 1677(5)(E)(iv); see also POSCO v.

United States, 977 F.3d 1369, 1371 (Fed. Cir. 2020). “For purposes of clause (iv),

the adequacy of remuneration shall be determined in relation to prevailing market

conditions for the good or service being provided . . . in the country which is

subject to the investigation or review. Prevailing market conditions include price,

quality, availability, marketability, transportation, and other conditions of purchase

or sale.” 19 U.S.C. § 1677(5)(E).

      Commerce’s regulations provide a three-tiered approach for determining the

adequacy of remuneration of an investigated good or service. See 19 C.F.R.

§ 351.511(a)(2). The Tier 1 and Tier 2 analyses compare the government price to a

market-based price for the good or service in the country in question, or in a world

market. Id. § 351.511(a)(2)(i), (ii). The Tier 3 analysis provides that when both an

in-country market-based price and a world market price are unavailable,
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Commerce examines whether the government price is consistent with market

principles. Id. § 351.511(a)(2)(iii). Commerce makes this determination based on

“information from the foreign government about how it sets its price.” Fine

Furniture (Shanghai) Ltd., 748 F.3d at 1370. “[I]f Commerce determines that

government pricing is not consistent with market principles, then ‘a benefit shall

normally be treated as conferred.’” POSCO, 977 F.3d at 1372 (quoting 19 U.S.C.

§ 1677(5)(E)(iv)); see also Nucor Corp. v. United States, 927 F.3d 1243 (Fed. Cir.

2019) (discussing Commerce’s application of the three-tier methodology).

      II.    Nucor’s Allegations and Commerce’s Determination

      Nucor challenges as unsupported by substantial evidence and not in

accordance with the law Commerce’s determination that the Government of

Korea’s provision of electricity for less than adequate remuneration did not confer

a benefit. Compl. at 8.

             A.    Whether Commerce’s Determination was in Accordance
                   with the Law

      Nucor argues that Commerce’s determination was unlawful because

Commerce disregarded the government price to respondents and purportedly

should have determined whether a benefit was conferred to a specific respondent

individually, not in the aggregate. See Pl.’s Br. at 12–24. Nucor asserts that 19
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U.S.C. § 1677f–1(e) requires Commerce to determine whether a benefit was

conferred to an individual entity. Id. at 12. 19 U.S.C. § 1677f-1(e)(1) states that:

      In determining countervailable subsidy rates . . . the administering
      authority shall determine an individual countervailable subsidy rate for
      each known exporter or producer of the subject merchandise.

19 U.S.C. § 1677f–1(e)(1). Nucor contends that 19 U.S.C. § 1677f–1(e) requires

Commerce to focus on the “prices that the respondents actually paid KEPCO for

electricity” rather than KEPCO’s cost by classification data reflecting KEPCO’s

total cost of sales and total sales income. Pl.’s Br. at 15.

      In the Final IDM, Commerce continued to determine that its Tier 3 analysis

required Commerce to assess whether the electricity prices charged by KEPCO

were consistent with market principles by evaluating whether the electricity prices

allowed for the recovery of costs plus a rate of recovery or profit. Final IDM at 15.

Commerce explained that Commerce’s analysis focused not on KEPCO’s total

revenue, but on KEPCO’s methodology for determining the adequacy of its pricing

through cost and revenue data. Id. at 16–17.

      Commerce determined that under the Tier 3 analysis: (1) KEPCO fully

recovered costs and did not confer a benefit; or (2) the prices for electricity

resulted in a non-measurable benefit during the period of review. Final IDM at 15.

Commerce explained:
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      [O]ur [Tier 3] analysis for electricity in Korea assesses whether the
       electricity prices charged by KEPCO are consistent with market
       principles by evaluating the electricity prices to see if they allow for
       the recovery of costs, plus a rate of recovery or profit. This well-
       established approach has been relied upon by Commerce in many
       cases and upheld by the [U.S. Court of Appeals for the Federal Circuit]
       in both Nucor and POSCO. To the extent that we determine that the
       electricity prices are in line with market principles, then we determine
       that no benefit is conferred. . . . In the instant review, we determined
       that some electricity prices were in line with market principles while
       others were not and, as such, for those categories that did not cover
       costs plus a rate of recovery, we calculated a benefit amount.
       Furthermore, KG Dongbu and Hyundai Steel reported paying
       electricity prices that are listed on KEPCO’s electricity rate schedule,
       and supporting documentation indicated that KG Dongbu and Hyundai
       Steel’s operations were classified under the correct electricity
       consumption categories.

Id.

      Addressing Nucor’s argument that Commerce should apply a standard that

directly compares the electricity prices paid by a respondent to the cost plus profit

rate of KEPCO to determine whether a benefit exists, Commerce determined that:

      [O]ur analysis is not based on KEPCO’s total revenue but, instead,
      KEPCO’s methodology for determining the adequacy of its pricing
      through cost and revenue data. As such, our analysis only relates to
      financial performance to the extent income from prices charged for
      each electricity consumption category covers KEPCO’s costs, plus
      profit. Because, as stated above, KG Dongbu and Hyundai Steel paid
      electricity prices that are charged to all companies in the corresponding
      electricity consumption classifications, our analysis does, in fact,
      account for whether the prices KG Dongbu and Hyundai Steel paid
      were covering KEPCO’s costs.
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Id. at 17. Defendant asserts that Commerce’s analysis was lawful and in

conformity with the U.S. Court of Appeals for the Federal Circuit’s (“CAFC”)

decisions in Nucor Corp. v. United States, 927 F.3d 1243 (Fed. Cir. 2019) and

POSCO v. United States, 977 F.3d 1369 (Fed. Cir. 2020). Def.’s Br. at 9–11.

      The Court notes that 19 U.S.C. § 1677f-1(e)(1) refers to the requirement that

Commerce determine an individual countervailable subsidy rate for each known

exporter or producer of the subject merchandise, which Commerce satisfied here

when it determined individual countervailable subsidy rates of 0.47% for Hyundai

Steel and 10.51% for KG Dongbu. Final Results, 87 Fed. Reg. at 2760. The

language of 19 U.S.C. § 1677f–1(e)(1) does not require that Commerce focus on

the prices that the respondents actually paid KEPCO for electricity, as alleged by

Nucor. Commerce explained that notwithstanding Nucor’s challenge, Commerce

did contemplate the prices paid by mandatory respondents Hyundai Steel and KG

Dongbu when Commerce considered the prices paid by all companies, because

Hyundai Steel and KG Dongbu paid the same prices that other companies paid

within the corresponding electricity consumption classifications. Final IDM at 16–

17.

      Nucor also contends that 19 C.F.R. § 351.503(b)(1) requires Commerce to

analyze whether a benefit was conferred when an individual firm pays less for its
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inputs than it would otherwise pay. Pl.’s Br. at 12. 19 C.F.R. § 351.503(b)(1)

states that:

       For other government programs, [Commerce] normally will consider a
       benefit to be conferred where a firm pays less for its inputs (e.g., money,
       a good, or a service) than it otherwise would pay in the absence of the
       government program, or receives more revenues than it otherwise
       would earn.

19 C.F.R. § 351.503(b)(1). Nucor argues that 19 C.F.R. § 351.503(b)(1) compels

Commerce to consider the price paid by “the firm” or an individual respondent.

Pl.’s Br. at 12.

       Commerce explained that “[w]hile Nucor appears to argue that we should

disregard a market analysis of KEPCO’s pricing and simply focus on the price

charged to the respondents, 19 [C.F.R. §] 351.511(a)(2)(iii) necessarily requires

that we evaluate whether KEPCO’s pricing is consistent with market principles,

which the record demonstrates.” Final IDM at 17. 19 C.F.R. § 351.511(a)(2)(iii)

states in relevant part:

       If there is no world market price available to purchasers in the country
       in question, the Secretary will normally measure the adequacy of
       remuneration by assessing whether the government price is consistent
       with market principles.

19 C.F.R. § 351.511(a)(2)(iii).

       As discussed above, Commerce considered the prices paid by mandatory

respondents KG Dongbu and Hyundai Steel when Commerce considered the prices
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paid by all companies, because KG Dongbu and Hyundai Steel paid the same

prices that other companies paid within the corresponding electricity consumption

classifications. Moreover, Commerce’s determination regarding whether the

prices paid by all companies, including KG Dongbu and Hyundai Steel, were

consistent with market principles, was in conformity with the relevant statute’s

instruction for Commerce to determine the adequacy of remuneration in relation to

prevailing market conditions, including price, quality, availability, marketability,

transportation, and other conditions of purchase or sale. 19 U.S.C. § 1677(5)(E).

When conducting a Tier 3 analysis, the CAFC has held that Commerce has

“considerable prima facie leeway to make a reasonable choice within the

permissible range” of calculation methodologies, so long as that choice is properly

justified “based on the language and policies of the countervailing-duty statute . . .

and other relevant considerations.” Nucor Corp., 927 F.3d at 1255. The Court

concludes that Commerce’s determination was reasonable and in accordance with

the law.

             B.     Whether Commerce’s Determination was Supported by
                    Substantial Evidence

      Nucor challenges as unsupported by substantial evidence Commerce’s

determination that the Government of Korea’s provision of electricity for less than

adequate remuneration did not confer a benefit. Compl. at 8. In order to analyze
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the structure of the Korean electricity market and the role that the Korean Power

Exchange (“KPX”) played in price setting, Commerce reviewed record documents,

including questionnaire responses filed by the Government of Korea, KG Dongbu,

and Hyundai Steel regarding the structure of the Korean electricity market and

operations of KEPCO. Final IDM at 15–19; Government of Korea’s NSAQR;

Letter from Yoon & Yang LLC to Sec’y Commerce, re: Certain Corrosion-

Resistant Steel Products from the Republic of Korea, Case No. C-580-879:

Government of Korea’s New Subsidy Allegations Supplemental Questionnaire

Response (Mar. 11, 2021) (“Government of Korea’s Supplemental NSAQR”), PR

140; KG Dongbu’s NSAQR; Hyundai Steel’s NSAQR; Letter from Yoon & Yang

LLC to Sec’y Commerce, re: Certain Corrosion-Resistant Steel Products from the

Republic of Korea, Case No. C-580-879: Government of Korea’s New Subsidy

Allegations Second Supplemental Questionnaire Response (Apr. 13, 2021)

(“Government of Korea’s Second Supplemental NSAQR”), PR 146.

      For example, Commerce reviewed the Government of Korea’s NSAQR to

support Commerce’s determination that KG Dongbu and Hyundai Steel reported

paying electricity prices that were listed on KEPCO’s electricity rate schedule and

that KG Dongbu and Hyundai Steel’s operations were classified under the correct

electricity consumption categories. Final IDM at 15. Exhibit E-9 to the

Government of Korea’s NSAQR cited by Commerce is a document entitled
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“Electricity Tariff Schedules” and provides applicable rate schedules for various

classifications of electricity, including industrial electricity rates for different

voltage levels with corresponding demand charge in won/kWh and energy charge

in won/kWh. Id.; Government of Korea’s NSAQR at Exhibit E-9. Commerce also

cited KG Dongbu’s NSAQR at Exhibits NSA-2 to NSA-3, which are documents

entitled “Electricity Template” and “Electricity Bills for July 2019,” and Hyundai

Steel’s NSAQR at Exhibits NSA-2 to NSA-3, which are documents entitled

“Electricity Template” and “Electricity Bills for July 2019.” Final IDM at 15; KG

Dongbu’s NSAQR at Exhibits NSA-2, NSA-3. Commerce determined based on a

review of these record documents that KG Dongbu and Hyundai Steel reported

paying electricity prices that were listed on KEPCO’s electricity rate schedule.

Final IDM at 15.

       Commerce also determined based on record evidence that KPX’s

standardized electricity pricing system included fixed and variable costs to ensure

that the expected rate of return was suitably allocated between the independent

generators along with KEPCO and the six wholly-owned subsidiary generators

(GENCOs) in the KPX market. See Final IDM at 17–18. For example, Commerce

cited the Government of Korea’s NSAQR to support its determination that KEPCO

was obligated to pay the GENCOs for the total cost of generating electricity,

including interest on loans, even if KEPCO was not profitable. Final IDM at 17;
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Government of Korea’s NSAQR at 27 (stating that “if KEPCO makes profit from

the sales of electricity, such profit is shared with its generators, and vice versa.

KEPCO and its subsidiaries enjoy the profits and share the risks because KEPCO

wholly owns its six subsidiaries, and KEPCO needs to have its subsidiaries operate

stably. Nevertheless, KEPCO is obligated to pay its subsidiaries the total cost . . .

regardless of whether KEPCO has made profits or not”).

      Commerce determined based on record evidence such as the Government of

Korea’s Supplemental NSAQR that the Government of Korea provided a detailed

explanation and supporting documentation of how KEPCO’s profit rate was

calculated and how it was based on KEPCO’s operations. Final IDM at 18 (citing

the Government of Korea’s Second Supplemental NSAQR at 7–8) (providing

answers to questions detailing how the rate of return was calculated)). Commerce

also determined based on record evidence that the prices paid by KG Dongbu and

Hyundai Steel were those set by KEPCO’s electricity rate schedules. Id. at 19

(citing the Government of Korea’s NSAQR at Exhibit E-9) (providing rate

schedules for electricity)).

      The Court notes that Nucor alleges that “overwhelming record evidence to

the contrary” shows that Commerce’s determination is not supported by substantial

evidence, but Nucor fails to provide evidence substantiating this claim. Pl.’s Br. at

22. Mere allegations are insufficient to raise doubts as to the veracity of the
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evidence upon which Commerce relied in making its determination. Asociacion

Colombiana de Exportadores de Flores v. United States, 13 CIT 13, 15, 704 F.

Supp 1114, 1117 (1989) (holding that “[s]peculation is not support for a finding”).

      The Court concludes that Commerce’s determination is supported by

substantial evidence because Commerce cited record documents, including the

questionnaire responses of the Government of Korea, KG Dongbu, and Hyundai

Steel, showing that the respondents did not receive a measurable benefit and “KG

Dongbu and Hyundai Steel paid electricity prices that are charged to all companies

in the corresponding electricity consumption classifications[.]” Final IDM at 17;

see POSCO, 977 F.3d at 1374 (“If the rate charged is consistent with the standard

pricing mechanism and the company under investigation is, in all other respects,

essentially treated no differently than other companies and industries which

purchase comparable amounts of electricity, then there is no benefit.”).
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                                 CONCLUSION

      The Court holds that Commerce’s determination that the Government of

Korea does not subsidize the Korean steel industry through the provision of

electricity for less than adequate remuneration is supported by substantial evidence

and in accordance with the law. The Court sustains the Final Results. Judgment

will issue accordingly.

                                                     /s/ Jennifer Choe-Groves
                                                  Jennifer Choe-Groves, Judge

Dated:     April 19, 2023
         New York, New York
